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      In the United States Court of Federal Claims
                           NOT FOR PUBLICATION
                                No. 06-563C
                                 Bid Protest

              (Originally Filed Under Seal November 20, 2006)
                        (Reissued December 8, 2006)


***********************
                                           *
EAST/WEST INDUSTRIES, INC.                 *
                                           *
              Plaintiff,                   *
                                           *
       v.                                  *
                                           *
THE UNITED STATES,                         *
                                           *
              Defendant,                   *
                                           *
REGENT MANUFACTURING, INC.,                *
                                           *
              Intervenor.                  *
                                           *
***********************


      Philip M. Dearborn, Washington, D.C., attorney of record for plaintiff,
East/West Industries, Inc.

      David A. Harrington, Department of Justice, Washington, D.C., with
whom was Assistant Attorney General Peter D. Keisler, for defendant. David M.
Cohen, Director, and Franklin E. White, Jr., Assistant Director.

      Robert A. Brunette, Glendale, CA., Counsel for Intervenor, Regent
Manufacturing, Inc.
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                                OPINION & ORDER

        Futey, Judge.

         This post-award bid protest matter1 is before the court on the parties’
corresponding cross-motions for judgment on the administrative record,2 as well as
plaintiff East/West Industries, Inc.’s (East/West) request for a permanent injunction.
Plaintiff also moves this court to award it the contract in lieu of Intervenor Regent
Manufacturing, Inc. (Regent). Plaintiff alleges that the Air Force acted arbitrarily and
capriciously in awarding the contract at issue to Regent instead of East/West because
East/West’s cranes are technically superior and it is a lower risk supplier than
Regent. Plaintiff claims that the Air Force acknowledged these facts, but for some
unknown reason, was determined to award the contract to Regent. Plaintiff also
maintains that despite the fact that defendant claimed it performed a re-evaluation
after plaintiff’s initial protest of the award to Regent, this re-evaluation was a sham.
Defendant avers that the Air Force followed proper procedures and the contract was
rightfully awarded to Regent based on the factors listed in the solicitation both in the
initial evaluation and the re-evaluation. Intervenor joins defendant’s arguments and
claims that nothing in the record shows that the Air Force unreasonably chose Regent
as the successful bidder. Upon review of the record and the parties’ arguments, the
court concludes that plaintiff failed to demonstrate that the Air Force was arbitrary,
capricious, abused its discretion, or violated any statute or regulation in awarding the
contract at issue to Regent. Because plaintiff has not succeeded on the merits, its
request for injunctive relief is moot.

                                      Background

        At issue is an Air Force contract for the production of multi-aircraft canopy
cranes (MACC). MACCs are cranes used to remove and install aircraft components,
such as canopies, ejection seats, and rotors with sufficient clearance to preclude any
contact with aircraft structures such as fuel tanks and landing gears. The aircrafts
that will be serviced by the MACCs include the Joint Strike Fighters, A-10, HH-60


        1
                  In its complaint, plaintiff lists seven counts against defendant. Counts
I, II, III, and IV are the bid protest claims addressed herein. By agreement and order
of the court dated August 9, 2006, counts V, VI, and VII, the patent infringement
claims, were stayed until further order of the court.
        2
                Plaintiff alternatingly titled its motion “Plaintiff’s Second Motion For
Summary Judgment”, “Plaintiff’s Second Motion For Judgment On The
Administrative Record”, and in its briefs referred to the motion as “East/West’s
motion for summary judgment on the record.” For these purposes, we consider
plaintiff’s motion to be a Motion for Judgment on the Administrative Record.

                                            2
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helicopter, F-15, F-16, F-22, F-117, and T-38 aircrafts. On May 24, 2004, the Air
Force published a request for proposals for the development and production of up to
360 MACCs to be made in cooperation with Warner-Robins Air Force Base
(Warner-Robins).

        The solicitation stated that proposals would be evaluated using the
“Technically Acceptable-Risk, Performance, Price Tradeoff (TA-RPPT) source
selection procedure.”3 The TA-RPPT is a simplified “best value” evaluation of the
offerors’ bids used by Warner-Robins. The first step in the TA-RPPT analysis is the
assessment of technical acceptability of the bids. Only those offers that are deemed
to be technically acceptable are given further consideration. Six parties submitted
offers. Out of these, three offers (by East/West, Regent, and Goodcrane) were
deemed technically acceptable.

        The second step of the TA-RPPT analysis is an evaluation of proposal risk,
past performance, and price. Proposal risk is defined as “the risk associated with the
offeror’s approach as it relates to accomplishing the requirements of the
solicitation.”4 Risk has three ratings: high, medium and low. Past performance is
defined as “the confidence in the offeror’s ability . . . to successfully accomplish the
proposed effort based on the offeror’s demonstrated present and past work record.”5
The past performance factor has six ratings ranging from “exceptional/high
confidence” to “unsatisfactory/no confidence.” There is also a formula for
calculating a “total evaluated price” for each offer.

         The final step in the TA-RPPT analysis is a tradeoff analysis. The solicitation
states that the contract will be awarded to “the responsible offeror who demonstrates
the ability to meet all of the technical requirements and who also provides the best
value offer with respect to risk, performance and price.”6 The solicitation also
advises that “risk and past performance [are] considered equal to each other and
significantly more important than price.”7 In addition, the solicitation declares that
“the tradeoff process by its nature is subjective.”8 The solicitation does not explicitly


        3
                Administrative Record (AR) at 218.
        4
                AR at 219.
        5
                AR at 220.
        6
                AR at 218. (emphasis in original).
        7
                Id.
        8
                Id.

                                           3
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explain how the offers are to be evaluated if the risk and past performance ratings are
identical. Defendant maintains, however, that the Air Force interprets the TA-RPPT
analysis to mean that, in the case of a tie in the ratings for risk and past performance,
price becomes the determining factor in awarding the contract.

          After the Air Force determined that only Regent’s, Goodcrane’s, and
plaintiff’s cranes were technically acceptable, it evaluated all three on risk, past
performance, and price tradeoff. In March 2005, Theresa Minton, the contracting
officer,9 circulated a draft source selection document which proposed that the
procurement be awarded to plaintiff. Among the draft recipients was Elaine Moore,
an advisor with the Air Force’s Acquisition Center for Excellence (ACE). Ms.
Moore’s job at ACE is to be “a resource if questions come up about a particular
solicitation.”10 Essentially, her responsibility on this procurement was to advise Ms.
Minton on how to properly do the procurement evaluation although she did not have
the power to direct the contract award. Ms. Moore reviewed the draft source
selection document and informed Ms. Minton that the evaluation was improper
because it distinguished between degrees of risks within a single risk classification,
i.e., a lower low risk or a higher low risk, which she asserted could not be done in a
TA-RPPT procurement.

        Six months later, on September 12, 2005, Ms. Minton circulated an e-mail at
12:33 p.m. which contained a recommendation to award the contract to East/West.
The same day, she followed up with a second e-mail at 1:58 p.m. providing an
updated draft source selection document which instead suggested awarding the
contract to Regent. Ms. Minton testified in her deposition that the seemingly
conflicting awards was merely a technical error on her part. She asserted that she had
attached the wrong document - an early draft decision - to the 12:33 p.m. e-mail and
that the award was always meant to go to Regent.11

        The MACC contract was awarded to Regent four days later on September 16,
2005. Soon after, East/West filed a protest with the Government Accounting Office
(GAO) in October 2005. In response to the protest, the Air Force agreed to take
corrective action which consisted of the following:




        9
                Warner-Robins uses the title “Source Selection Authority” (SSA) for
its contracting officers.
        10
                Oral Argument Transcript (Tr.) at 32.
        11
                AR at 5084.

                                           4
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       use a new evaluation team; reevaluate the competitive range
       proposals of Regent, East/West, and a third offeror; and, depending
       on the reevaluation results, may or may not reopen discussions and
       obtain new final revised proposals.12

As a consequence, the GAO dismissed East/West’s protest.

         The Air Force then assembled a new evaluation team.13 Salena Arrington
replaced Ms. Minton as the new contracting officer for the procurement. The re-
evaluation did not start from square one, but instead used the original technical
team’s analysis. Defendant maintains that there was no need to form a new technical
team because the agreed corrective action did not call for one. The only overlap
between the original procurement team was Ms. Moore, who continued to participate
as the ACE advisor to the contract. A review of the record reveals that Ms. Moore
again reviewed the draft source selection decision documents and made suggestions
to the contracting officer. For example, in one e-mail she directed a contract
specialist to “delete relevancy rating from the SSDD [source selection decision
document.]”14 Ms. Moore also circulated two e-mails which indicated her
“concurrence” with the Performance Confidence Assessment Group (PCAG) and the
source selection decision document. Ms. Moore testified at her deposition that her
role in the re-evaluation was restricted to reading over the March 2006 PCAG report
and the April 2006 source selection decision document. She further stated that she
could not direct the contracting officer to award the contract to any offeror.

       On April 18, 2006, the contracting officer issued the final source selection
decision document awarding the MACC contract to Regent. The document
explained the decision to award the contract to Regent as follows:

       The RFP provision “Evaluation Basis for Award” directed that this
       acquisition would utilize the Technically Acceptable-Risk
       Performance/Price Tradeoff (TA-RPPT) source selection procedure
       to make an integrated assessment for a best value award decision . .
       . . East/West, Goodcrane, and Regent were evaluated as being
       technically acceptable and were evaluated as a low risk, meaning their
       proposal had little potential to cause disruption of schedule, increased
       cost, or degradation of performance. . . . Based on the information
       gathered and documented during the evaluation process, a trade-off


       12
               AR at 18.
       13
               AR at 14, 18, 1108-26, 1139-45.
       14
               AR at 4985.

                                          5
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         between past/present performance and price is not necessary because
         East/West Industries and Regent Manufacturing were both technically
         acceptable and assessed with a good/significant confidence. Hence,
         when all factors are equal, the lowest total evaluated price takes
         precedence.15

        As a result, plaintiff filed a second GAO protest challenging the award to
Regent. The GAO denied the protest on the basis that the “Air Force had
appropriately evaluated the past performance of both plaintiff and Regent, that the
Air Force had no obligation to obtain and consider ‘outside information’ potentially
bearing upon past performance, and that there was no basis for concluding that any
incidents raised by East/West concerned ‘quality deficiencies or latent defects’ that
Regent was required to report .”16 Subsequently, plaintiff filed a complaint with this
court challenging the award.

                                     Discussion

I.       Standard of Review

        “A Motion for Judgment on the Administrative Record, pursuant to RCFC
52.1, is similar but not identical to a Motion for Summary Judgment, pursuant to
RCFC 56.” Info. Sci. Corp. v. United States, 73 Fed. Cl. 70, 97-98 (2006) (citing
Bannum, Inc. v. United States, 404 F.3d 1346, 1355 (Fed. Cir. 2005)). Summary
judgment is appropriate when there are no genuine issues of material fact and the
moving party is entitled to judgment as a matter of law. RCFC 56(c); Anderson v.
Liberty Lobby, Inc., 477 U.S. 242, 247 (1986); Jay v. Sec’y, DHHS, 998 F.2d 979,
982 (Fed. Cir. 1993). In contrast, the court “must under Rule [52.1], weigh[] the
evidence” when considering a Motion for Judgment on the Administrative Record.
Bannum, 404 F.3d at 1355. RCFC 52.1 is “designed to provide for a trial on a paper
record, allowing fact-finding by the trial court.” Bannum, 404 F.3d at 1356.

        Congress amended the Tucker Act in 1996 by granting this court jurisdiction
to hear post-award bid protest actions. 28 U.S.C. § 1491(b)(4). The court reviews
the challenged agency decisions according to the standards set out in the
Administrative Procedures Act (APA), 5 U.S.C. § 706. Impreza Construzioni
Geom. Domenico Garufi v. United States, 238 F.3d 1324, 1332 (Fed. Cir. 2001)
(citations omitted). In particular, the court must determine whether the agency’s


         15
                AR at 1144.
         16
             Def.’s Response to Pl.’s Motion For Summary Judgment And
Cross-Motion For Judgment Upon The Administrative Record at 3-4 (quoting AR
at 1212-21).

                                          6
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actions were arbitrary, capricious, an abuse of discretion or otherwise not in
accordance with the law. 5 U.S.C. § 706(2)(A). A bid award may be set aside,
therefore, “if either: (1) the procurement official’s decision lacked a rational basis;
or (2) the procurement procedure involved a violation of regulation or procedure.”
Impreza, 238 F.3d at 1332 (citations omitted).

         In determining whether the agency has acted arbitrarily and capriciously
toward plaintiff, the court must consider four factors. Keco Indus., Inc. v. United
States, 203 Ct. Cl. 566, 574 (1974). Specifically, the court must determine whether:
(1) there was subjective bad faith on the part of the procuring officials; (2) there was
a reasonable basis for the procurement decision; (3) the procuring officials abused
their discretion; and (4) pertinent statutes and regulations were violated. Id.; see also
Aero Corp., S.A. v. United States, 38 Fed. Cl. 739, 749 (1997). There is, however,
“no requirement or implication . . . that each of the factors must be present in order
to establish arbitrary and capricious action by the government.” Prineville Sawmill
Co. v. United States, 859 F.2d 905, 911 (Fed. Cir. 1988). The court must also “give
due regard to the interests of national defense and national security and the need for
expeditious resolution of the action.” 28 U.S.C. § 1491(b)(3).

        When reviewing agency action, the APA requires a “thorough, probing, in-
depth review” to determine “whether the decision was based on a consideration of
the relevant factors and whether there has been a clear error of judgment.” Citizens
to Preserve Overton Park, Inc. v. United States, 401 U.S. 402, 415-16 (1971). In
examining an agency’s procurement action, the agency is given wide discretion in the
application of procurement regulations. Bellevue Bus Serv., Inc. v. United States,
15 Cl. Ct. 131, 133 (1988); CACI Field Servs., Inc. v. United States, 13 Cl. Ct. 718,
725 (1987), aff’d, 854 F.2d 464 (Fed. Cir. 1988). In this regard, the court cannot
substitute its judgment for that of the agency, even if reasonable minds could reach
differing conclusions. CRC Marine Servs., Inc. v. United States, 41 Fed. Cl. 66, 83
(1998). Indeed, “[t]he court should not substitute its judgment on such matters for
that of the agency, but should intervene only when it is clearly determined that the
agency’s determinations were irrational or unreasonable.” Baird Corp. v. United
States, 1 Cl. Ct. 662, 664 (1983). As long as a rational basis is articulated, and
relevant factors are considered, the agency’s actions must be upheld. Bowman
Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281, 285-86 (1974).

        The “disappointed bidder bears a ‘heavy burden’ of showing that the award
decision ‘had no rational basis.’” Impreza, 238 F.3d at 1333 (citing Saratoga Dev.
Corp. v. United States, 21 F.3d 445, 456 (D.C. Cir. 1994)). When a protestor is
asserting a violation of regulation or procedure, “the disappointed bidder must show
a ‘clear and prejudicial violation of applicable statutes or regulations.’” Id. (citing
Kentron Hawaii, Ltd. v. Warner, 480 F.2d 1166, 1169 (D.C. Cir. 1973); Latecoere
Int’l, Inc. v. United States Dep’t of Navy, 19 F.3d 1342, 1356 (11th Cir. 1994)).


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 Moreover, “to prevail in a protest the protestor must show not only a significant error
 in the procurement process, but also that the error prejudiced it.” Data Gen. Corp.
 v. Johnson, 78 F.3d 1556, 1562 (Fed. Cir. 1996). To establish prejudice, a protestor
 must demonstrate that but for the alleged error, there was a substantial chance it
 would have received the award. Statistica, Inc. v. Christopher, 102 F.3d 1577, 1581
 (Fed. Cir. 1996).

         Decisions by the GAO are traditionally given a high degree of deference by
 the courts, particularly in bid protest cases. E.W. Bliss Co. v. United States, 33 Fed.
 Cl. 123, 135 (1995), aff’d 77 F.3d 445 (Fed. Cir. 1996). Although GAO decisions
 are not binding upon the Court of Federal Claims, they may be considered as “expert
 opinions,” which the court should prudently consider. Hawaiian Dredging Co. v.
 United States, 59 Fed. Cl. 305, 311 (2004). The court, however “is not bound by the
 views of the Comptroller General nor do they operate as a legal or judicial
 determination of the rights of the parties.” Burroughs Corp. v. United States, 223
 Ct. Cl. 53, 63 (1980). Thus, this court affords deference to the GAO’s denial of
 plaintiff’s protest to the extent that it discusses the merits of plaintiff’s case. See
 MTB Group, Inc. v. United States, 65 Fed. Cl. 516, 525 (2005).

II.      The Contracting Officer Used Her Independent Judgment and Reasonably
         Interpreted the Terms of the TA-RPPT Source Selection Procedure in
         Awarding the Contract to Regent

         Plaintiff claims that it would have been awarded the MACC contract based
 upon Ms. Minton’s March 14, 2005 draft source selection decision in its favor, but
 for the intervention of Ms. Moore. This award decision, however, is not formally
 before the court because the Air Force conducted a re-evaluation of offers. Even
 though the September 2005 award is not before the court for review, the process by
 which that award was made is potentially relevant to plaintiff’s argument that the
 erroneous advice of a procuring official in the first award contaminated the second
 award in April 2006. Specifically, at oral argument, plaintiff’s counsel asserted that
 the contracting officers did not exercise their independent judgment as required by
 48 C.F.R. § 15.308 because of Ms. Moore’s intervention. See 48 C.F.R. § 15.308
 (“[T]he source selection decision shall represent the SSA’s independent judgment”);
 see also, Tr. at 13-14 (citing Info. Sci., 73 Fed. Cl. 70 (2006)).17


          17
                 In response to a question from the court at oral argument as to whether
 Ms. Arrington’s decision to award the contract to Regent after the re-evaluation was
 arbitrary and capricious, plaintiff’s counsel stated that plaintiff does not allege that
 the award of the contract was arbitrary. Tr. at 14. Later in the oral argument,
 however, plaintiff’s counsel, alleged, as explored in further detail below, that the
 contracting officer arbitrarily assigned Regent an incorrect past performance ranking.
                                                                           (continued...)

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         The Court does not find that Ms. Moore’s advice prevented either contracting
officer from exercising her independent judgment. There is no evidence in the record
that contradicts Ms. Moore’s deposition testimony that her role was purely advisory
and that she could not direct the award of any contract. Similarly, plaintiff did not
provide any evidence that refutes Ms. Moore’s testimony that although she could
make recommendations to the contracting officer, the contracting officer was free to
follow or disregard her advice.18 Therefore, Ms. Moore’s involvement in the
procurement does not make the award arbitrary or capricious, nor was it a violation
of any regulation or standard.

        Plaintiff argues that Ms. Moore’s advice that the contracting officer could not
differentiate within a risk category is contrary to Fort Carson Support Services v.
United States, 71 Fed. Cl. 571, 588 (2006) and that the award was, therefore,
unreasonable. The court in Fort Carson stated that, in the context of the “best value”
solicitation at issue in that case, it was an “incorrect understanding of the evaluation
process [to assert that] the adjectival ratings given to offerors are themselves
determinative.” Id. Both defendant and intervenor maintain that Fort Carson is not
applicable because the solicitation in that case had different language and
requirements than the one here.

        The court agrees with defendant and intervenor that Fort Carson is irrelevant
because the procurement at issue in Fort Carson called for a “tradeoff process among
the factors, subfactors, and elements,” while the tradeoff process in a TA-RPPT
procurement does not call for an analysis of the elements. Id. (emphasis in original).
Thus, Ms. Moore’s advice, namely, that a TA-RPPT procurement does not permit the
contracting officer to differentiate between two companies that have the same
adjectival ratings,19 was not contrary to the terms of the solicitation. As stated above,
the solicitation provided that “tradeoffs will [] be made between risk, past
performance, and price, with risk and past performance being considered equal to




        17
          (...continued)
Compare Tr. at 14 with Tr. at 48. Plaintiff also does not allege that Ms. Moore
acted in bad faith or was biased against East/West, but rather that Ms. Moore’s
advice caused both Ms. Minton and Ms. Arrington to award the contract in a manner
contrary to the FAR’s independent judgment requirement and the terms of the
solicitation. Tr. at 23-24.
        18
                AR at 6-7, 5253-5254.
        19
                AR at 3518-19.

                                           9
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each other and significantly more important than price.”20 The solicitation then
goes on to provide criteria for risk and past performance.21 It does not, however,
provide for distinguishing between higher and lower degrees within the same rating,
e.g. when two bids are given the same “low risk” rating, determining which bid is the
lowest risk within the “low risk” rating. Thus, Ms. Arrington had a reasonable basis
for not considering, in her trade-off analysis, which bid had the lowest risk, when
both bids had identical “low risk” ratings and identical “very good/significant
confidence” ratings.

       Next, plaintiff claims that Ms. Arrington’s finding that price was the
determinative factor between Regent and plaintiff was an abdication of her
independent judgment. Defendant avers that the record demonstrates that Ms.
Arrington looked at all the factors detailed in the solicitation and that because all else
was equal between Regent and East/West, she rationally awarded the contract to
Regent because its bid was lower.

        The court agrees with defendant that Ms. Arrington reasonably interpreted the
terms of the TA-RPPT solicitation as requiring that price be determinative in this
procurement. While the solicitation indicated that price was indeed deemed as less
important than risk or past performance, when the latter two factors are both of equal
weight, such as in the case of identical ratings of risk and past performance, it
logically follows that price would serve as the tiebreaker. The reasonableness of the
contracting officer’s decision is underscored by the fact that Regent’s price was [***]
less than plaintiff’s price, when both bids had identical risk and performance ratings.
Accordingly, the court finds that in no sense did Ms. Arrington fail to exercise her
independent judgment or that she awarded the contract to Regent in a manner
contrary to the terms of the solicitation when she held that price was outcome-
determinative.

        Plaintiff also alleges that the Air Force failed to perform the corrective action
that served as the basis for the GAO’s dismissal of the protest of the September 2005
bid because a new technical team should have been assembled to perform new
technical and risk assessment. This argument, however, is without merit. The
corrective action required the Air Force to re-evaluate “competitive range proposals”
by “a new evaluation team.”22 By definition, the only “competitive range proposals”
were those that were technically acceptable, making a new technical assessment
unnecessary. Furthermore, the April 2006 source selection decision indicates that


        20
                AR at 218.
        21
                AR at 218-221.
        22
                AR at 1075.

                                           10
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“the Air Force decided to conduct a new evaluation of the past performance of the
offerors within the competitive range at time of contract award.”23 The remainder of
the source selection decision goes on to provide the results of the re-evaluation.
Thus, the record does not support plaintiff’s allegation that the Air Force failed to
conduct the re-evaluation that it promised to carry out.

        Finally, plaintiff’s suggestion that Ms. Minton’s March 2005 draft source
selection decision better exemplifies independent judgment or is otherwise more
reasonable than the April 2006 source selection decision is itself irrelevant to the
Court’s analysis, precisely because it is a draft. Even if, for the sake of argument, the
court was convinced that Ms. Minton’s draft decision was more reasonable than the
final source selection decision made by the Air Force, “the [c]ourt’s only role is to
determine whether any rational and reasonable basis supports the agency’s decision.”
Ellsworth Associates, Inc. v. United States, 45 Fed. Cl. 388, 393 (1999). There is
simply no basis for the court to reject a final procurement award that satisfies the
court’s standard of review in the face of an arguably sounder decision. In fact, the
draft source selection decision itself is not reliable because, as Ms. Minton testified
at her deposition, she agreed with Ms. Moore that her draft consideration was
contrary to the terms of the solicitation, stating that:

        when we went back and looked to see what we were doing, we
        realized that she was right, and we were trying to put more into the
        evaluation than we were allowed to. That we were considering
        outside factors. When we realized that, we went back and then
        evaluated everything straight by the solicitation. And when we did
        that, we realized that our decision, our first decision was not
        supportable.24


III.    The Air Force’s Past Performance Ratings Of Regent and East/West Were
        Reasonable

       Plaintiff argues that it should have been assigned an “exceptional/high
confidence” past performance rating because the majority of customer ratings were
exceptional. Defendant contends that the GAO reasonably rejected this claim and the
court must defer to this decision.




        23
                AR at 1139.
        24
                AR at 5044.

                                           11
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       The GAO found that,

       [u]nder the RFP’s evaluation scheme, the highest confidence rating
       was to be assigned where the agency concluded that there was
       essentially no doubt as to the offeror’s successful performance. Since
       only one contract was rated very relevant and the protestor received
       exceptional performance ratings only under two of its three relevant
       contracts, we think the agency reasonably concluded that East-West’s
       performance record warranted assigning the firm a very
       good/significant confidence rating based on there being little doubt-
       rather–than no doubt–as to its successful performance.25

The GAO’s finding that the Air Force’s past performance rating for plaintiff was
reasonable is sound. Plaintiff has not provided any argument that would require the
court to come to a different conclusion from that of the GAO. Accordingly, the court
upholds the Air Force’s past performance rating of plaintiff.

        Plaintiff also avers that Regent should have received a lower risk rating than
“very good/significant confidence” because of an alleged pattern of late deliveries as
well as other miscellaneous reasons. Plaintiff cites a document entitled “Summary
of Delivery Record on Regent’s Past Performance Exemplar Contracts” which lists
four separate line items of late deliveries.26 Defendant, on the other hand, claims that
the Air Force articulated a rational basis for assigning the “very good/significant
confidence” rating to Regent because the contracts it submitted were relevant and its
customer ratings were all satisfactory or better. Defendant maintains that there were
many reasons to believe that Regent would be able to perform the contract.

        Plaintiff’s argument is faulty because delivery delays are more properly
analyzed as part of past performance than the risk factor, insofar as “proposal risk”
is defined as “the risk associated with the offeror’s proposed approach,”27 and as
indicated in the delivery record summary.28 Regardless, the PCAG Report, dated


       25
               AR at 1217.
       26
               AR at 5030.
       27
               AR at 219.
        28
                 The only remaining argument plaintiff proffers concerning Regent’s
risk rating is that Regent proposed a “paper crane,” - a modification of two cranes
that Regent had previously produced. Because plaintiff’s proposal was also a
modification of an existing crane design, however, the offers of both plaintiff and
                                                                      (continued...)

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March 15, 2006, addressed the delivery delay issue. It stated: “Regent has had some
problems with delivery in the past. This was acknowledged by Regent in their
FACTs sheets and corrective action has been taken by Regent to change their
processes in order to correct their delinquencies. No customer indicated that late
deliveries were an issue with the contractor’s performance.”29 Since the Air Force
had no other derogatory information in its possession other than the late deliveries
– an issue that Regent had taken steps to rectify – it was reasonable for the Air
Force to give Regent a “very good/significant confidence rating.” The GAO decision
denying plaintiff’s protest came to the same conclusion.30

         Plaintiff’s remaining criticisms of Regent’s past performance rating are either
irrelevant or contradicted by the record, and, therefore, may be disposed of with
dispatch. First, plaintiff argues that the “contracting officer” agrees with alleged
faults that it identified.31 It is unclear to which contracting officer plaintiff is
referring. Plaintiff, however, has not pointed to any evidence in the record to that
effect from Ms. Arrington. To the extent that plaintiff is referring to Ms. Minton, her
views are irrelevant and, in any event, she also gave both East/West and Regent the
same “very good/significant” confidence rating.32 Second, plaintiff’s argument that
“none of Regent’s prior clients have any significant praise for Regent,”33 is expressly
contradicted by customer comments on the record.34 Third, plaintiff’s argument that
Regent lacks sufficient experience in performing contracts similar to the MACC
contract is contradicted by the Air Force’s citation of Regent’s contract for the
delivery of 323 1500-pound floor cranes which it deemed “very relevant” to Regent’s
past performance.35 Fourth, plaintiff’s allegation that the Air Force did not receive
sufficient feedback about past performance is contradicted by the fact that the Air
Force sent out 11 questionnaires about Regent, received 11 responses, and conducted


        28
        (...continued)
Regent cannot be meaningfully distinguished in that respect. AR at 1141.
        29
               AR at 1124.
       30
               AR at 1218.
        31
               Pl.’s Second Mot. for Judgment on the Admin. Rec. (Pl.’s Mot.) at
               10.
       32
               AR at 1041-46.
       33
               Pl.’s Mot. at 7.
       34
               AR at 1121, 1123-24.
        35
               AR at 1122.

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six interviews,36 far exceeding the four responses received concerning plaintiff.37
Finally, plaintiff’s charge that the Air Force had knowledge of safety problems with
Regent’s cranes and that Regent failed to disclose latent defects in its crane is not
based upon any evidence in the record other than a single allegation from a
competitor of Regent which, as the GAO determined, was unrelated to a latent defect
in the crane.38

                                     Conclusion

        For the above-stated reasons, Defendant’s Cross-Motion For Judgment Upon
The Administrative Record is hereby ALLOWED and Plaintiff’s Motion For
Judgment On The Administrative Record is DENIED.39 Because plaintiff has not
succeeded on the merits, its request for injunctive relief is MOOT. In addition, the
court does not have jurisdiction to direct the government to award the contract to
plaintiff. See ManTech Telecomm. & Info. Sys. v. United States, 49 Fed. Cl. 57,
79-80 (2001) (citations omitted). The Clerk is directed to enter judgment in
accordance with this opinion.

        Any party who seeks the redaction of any proprietary or confidential
information from the public version of this opinion shall file under seal its request
for redactions by Thursday, December 7, 2006. A telephonic conference shall be
held on Tuesday, December 19, 2006 at 11:00 a.m. concerning further proceedings




       36
               AR at 1121-23.
       37
               AR at 1111-14.
       38
                AR at 28, 1218-20. The record shows that the supposed latent defect
was due to [***] the misuse of the cranes and was not a Regent manufacturing
problem. AR at 1218. After plaintiff filed its second complaint with the GAO, the
Air Force ran an additional search for safety issues with Regent’s cranes and reported
the results to the GAO for consideration in plaintiff’s protest. The search went
beyond the required parameters of the solicitation and the Air Force was unable to
find “any recurring safety problems with Regent’s cranes.” AR at 4986.
       39
               The court received Plaintiff’s Motion For Leave To File Corrected
Statement Of Facts And Amended Supplemental Statement Of Facts filed November
15, 2006. Although the court believes this motion is untimely, the court nevertheless
reviewed plaintiff’s submission and does not believe it affects the above conclusions.

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on how the court should proceed on counts V, VI, and VII, the stayed patent
infringement claims.40


      IT IS SO ORDERED.


                                         s/Bohdan A. Futey
                                          BOHDAN A. FUTEY
                                                Judge




      40
               This opinion is being issued redacted. Defendant submitted
redactions in accordance with the court’s order of November 20, 2006.

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